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11
12                                      UNITED STATES DISTRICT COURT
13                                      EASTERN DISTRICT OF CALIFORNIA
14
15 RALPH COLEMAN, et al.,                                  Case No. 2:90-CV-00520-KJM-DB
16                        Plaintiffs,                      DECLARATION OF ERNEST
                                                           GALVAN IN SUPPORT OF
17                 v.                                      PLAINTIFFS’ BRIEF REGARDING
                                                           STAFFING AND POPULATION
18 GAVIN NEWSOM, et al.,
                                                           Judge: Kimberly J. Mueller
19                        Defendants.
20
21                 I, Ernest Galvan, declare:
22                 1.     I am an attorney duly admitted to practice before this Court. I am a partner
23 in the law firm of Rosen Bien Galvan & Grunfeld LLP, counsel of record for Plaintiffs. I
24 have personal knowledge of the facts set forth herein, and if called as a witness, I could
25 competently so testify. I make this declaration based in support of Plaintiffs’ Brief
26 Regarding Staffing and Population.
27                 2.     Beginning on April 6, 2020, this Court issued orders directing the parties to
28 meet and confer on measures necessary to protect Coleman class members from COVID-
     [3613874.1]

         DECL. OF ERNEST GALVAN IN SUPPORT OF PLAINTIFFS’ BRIEF RE: STAFFING AND POPULATION
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 1 19 outbreaks in CDCR institutions, and to submit briefing, plans and supporting materials
 2 to the Court. See ECF Nos. 6580, 6622, 6643, 6661, 6681, 6707, 6791. As part of that
 3 process, my colleagues and I requested and received information regarding the COVID-19
 4 risk status, mental health care status, and other case factors of the persons held in CDCR
 5 institutions.
 6                 3.   On or about July 29, 2020, we received via confidential file transfer an Excel
 7 spreadsheet with the file name “PLO CDCR Population 20200716” with the following
 8 columns:
 9     PID
       CDCNumber
10
       Institution
11     LastName
       FirstName
12     Age
13     Gender
       Facility
14     CellBed
15     BedType
       ClinicalRiskLevel
16     AllRiskFactors
       COVIDRiskFactorCount
17
       COVIDWeightedRiskScore
18     AdvancedAge
       AsthmaPersistent
19
       LungDisease
20     Immunocompromised
       AdvancedLiverDisease
21
       OtherChronic
22     CancerHighRisk
       Diabetes
23     COPD
24     CVD
       HIV
25     Pregnant
26     Dialysis
       BMI40orMore
27     Race
       Ethnicity
28
     [3613874.1]
                                                       2
         DECL. OF ERNEST GALVAN IN SUPPORT OF PLAINTIFFS’ BRIEF RE: STAFFING AND POPULATION
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 1     BedSecurityLevel
       ClassScore
 2
       IncarcerationDate
 3     EstimatedReleaseDate
       ReleaseType
 4     CountyofCommitment
 5     Mental Health Level of Care
       In Mental Health Program in
 6     Last
       TABE
 7
       ADA
 8     DPPHearing
       DPPKidney
 9     DPPMobility
10     DPPSpeech
       DPPVision
11     LearningDisability
12     DDPCodes
       COVIDStatus
13     CSRA
14     OffenseCategory
       OffenseGroup
15     CommitmentOffense
       SexReg
16
       Sentence_Months
17     Substance_Abuse
       Criminal_Thinking
18
       Social_Isolation
19     Criminal_Personality
       Anger
20     Educational_Problems
21     Employment_Problems
       Criminal_Peers
22     Criminal_Opportunity
23     Leisure_Recreation
       Financial
24     Residential_Instability
       OFFENSEDATE
25
26
                   4.   In order to create a table showing the distribution of California Status Risk
27
     Assessment (CSRA) scores in the Coleman class, and to compare that distribution to
28
     [3613874.1]
                                                       3
         DECL. OF ERNEST GALVAN IN SUPPORT OF PLAINTIFFS’ BRIEF RE: STAFFING AND POPULATION
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 1 incarcerated persons outside the Coleman class, I used the Pivot Table function in Excel to
 2 produce the table below. Mental Health Services Delivery System “MHSDS” refers to the
 3 Coleman class.
 4                            Column Labels

 5
                                                                                  Total     Total
 6                            Non‐MHSDS                      MHSDS                Number    Percentage

 7
       CSRA Scores            Number            Percentage Number Percentage
 8     Low                             42,135       54.05%  18,612    55.78%       60,747      54.57%
       Moderate                        16,996       21.80%   6,743    20.21%       23,739      21.32%
 9
       High                            18,249       23.41%   7,815    23.42%       26,064      23.41%
10       High Drug                      1,349        1.73%     521     1.56%        1,870       1.68%
         High Property                  3,371        4.32%   1,509     4.52%        4,880       4.38%
11       High Violent                  13,529       17.35%   5,785    17.34%       19,314      17.35%
12     None                               577        0.74%     199     0.60%          776       0.70%
       Grand Total                     77,957     100.00%   33,369  100.00%       111,326     100.00%
13
14                 5.    On September 8, 2020, I received a letter from the CDCR Office of Legal
15 Affairs regarding CDCR psychiatry staffing. A true and correct copy of the letter is
16 attached hereto as Exhibit A.
17                 I declare under penalty of perjury under the laws of the United States of America
18 that the foregoing is true and correct, and that this declaration is executed at Eugene,
19 Oregon this 14th day of September, 2020.
20
21
                                                         /s/ Ernest Galvan
22                                                       Ernest Galvan

23
24
25
26
27
28
     [3613874.1]
                                                         4
         DECL. OF ERNEST GALVAN IN SUPPORT OF PLAINTIFFS’ BRIEF RE: STAFFING AND POPULATION
